: 7- -20239-.]P|\/| Document 217 Filed 07/15/05 Page 1 of 3 Page|D 109
ease 2 9 Cr IN THE UNITED STATES DISTRICT COURT

FoR rle wEerRN DISTRICT 0F TENNESSEE 3333 3 _JP\,J_H_ D_C_

 

   

 

WESTERN DIVISION
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UNITED STATES OF AMERICA ) CR. NOS. 97-203_§?§(-'&131 § 1331 COURT
) 97-20235".-'1}¢{}_' ?`i !. --.'-El:lPH!S
Plaintiff, ) 97-20236-Ml
) 97-20237-Ml
VS ) 97-20238-M1
) 97*20239-Ml \/
EDDIE JETER ) 97-20240-M1
) 97-20241-M1
Defendant. )
ORDER TO SURRENDER

 

The defendant, Eddie Jeter, having been sentenced in the above case to the custody of the
Bureau of Prisons and having been granted leave by the Court to report to the designated facility, IS
HEREBY ORDERED to surrender to the Bureau of Prisons by reporting to the FCI MEMPHIS
(SCP) 1101 John A. Denie Road, Memphis, TN 38134 by 2:00 p.m. on FRIDAY, AUGUST 5,
2005.

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall
report immediately to the Office of the Clerk, Federal Oft'ice Building, 167 N. Main Street, Room 242,
Memphis, Tennessee 38103 to acknowledge by signature receipt of a copy of this Order and that the
defendant will report as ordered to the facility named above.

ENTEREDrhisrhe f$ day ofJuly,2005.

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J PHIPPS McCALLA
ITED STATES DISTRICT JUDGE

 

Thls document entered nn the docket sheet in compliance
with aule 55 and/or az{b) Fach on 7'/5 05

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ACKNOWLEDGMENT

I agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed and acknowledged before me on

 

 

 

Clerk/Deputy Clerk Defendant

: .| l 3 3 3
UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 217 in
case 2:97-CR-20239 Was distributed by faX, mail, or direct printing on
July 15, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

